Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 1 of 22 PageID #: 11
A lb.


;_:_t CT Corporation                                                            Service of Process
                                                                                Transmittal
                                                                                12/26/2019
                                                                                CT Log Number 536876033
        TO:      Stacy Davis, A3-4007
                 ServiceMaster
                 150 Peabody Place
                 Memphis, TN 38103-3728

        RE:      Process Served in Louisiana

        FOR: The Terminix International Company Limited Partnership (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                  LAVESPERE, JAMES, PLTF. vs. THE TERMINEX INTERNATIONAL COMPANY LIMITED
                                          PARTNERSHIP, DFT.
        DOCUMENT(S) SERVED:               Citation, Order, Petition, Request, Interrogatories
        COURT/AGENCY:                     ALEXANDRIA CITY COURT (Rapides Parish), LA
                                          Case # 145604
        NATURE OF ACTION:                 Employee Litigation - Petition for Wages
        ON WHOM PROCESS WAS SERVED:       C T Corporation System, Baton Rouge, LA
        DATE AND HOUR OF SERVICE:         By Process Server on 12/26/2019 at 08:35
        JURISDICTION SERVED:              Louisiana
        APPEARANCE OR ANSWER DUE:         03/04/2020 at 09:00 a.m.
        ATTORNEY(S) / SENDER(S):          Thomas D. Davenport, Jr.
                                          The Davenport Firm, APLC
                                          602 Murray Street
                                          Alexandria, LA 71301
                                          318-445 - 9696
        ACTION ITEMS:                     CT has retained the current log, Retain Date: 12/26/2019, Expected Purge Date:
                                          12/31/2019

                                          Image SOP

                                          Email Notification, Stacy Davis Stacy.davis@servicemaster.com

                                          Email Notification, TERESA GIFFORD teresa.gifford@servicemaster.com

        SIGNED:                           C T Corporation System
        ADDRESS:                          208 5 La Salle St Ste 814
                                          Chicago, IL 60604-1101
        For Questions:                    866-331-2303
                                          CentralTeam1@wolterskluwer.com




                                                                                Page 1 of 2 / PS
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 2 of 22 PageID #: 12
A lb.


;_:_t CT Corporation                                                            Service of Process
                                                                                Transmittal
                                                                                12/26/2019
                                                                                CT Log Number 536876033
        TO:    Stacy Davis, A3-4007
               ServiceMaster
               150 Peabody Place
               Memphis, TN 38103-3728

        RE:    Process Served in Louisiana

        FOR:   The Terminix International Company Limited Partnership (Domestic State: DE)




        DOCKET HISTORY:
               DOCUMENT(S) SERVED:         DATE AND HOUR OF SERVICE:            TO:                                 CT LOG NUMBER:

               Citation, Petition, Order,  By Process Server on 12/20/2019 at   Stacy Davis, A3-4007                536851632
               Request(s), Interrogatories 09:05                                ServiceMaster




                                                                                Page 2 of 2 / PS

                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
                       RULE
Case 1:20-cv-00056-RRS-JPM    TO SHOW
                           Document 1-2 FiledCAUSE
                                             01/14/20 Page 3 of 22 PageID #: 13
                                       a

 JAMES LAVESPERE                                              DOCKET NO: 145,604

                                                              ALEXANDRIA CITY COURT
 VERSUS
                                                              PARISH OF RAPIDES

 THE TERMINiX INTERNATIONAL
 COMPANY LIMITED PARTNERSHIP                     STATE OF LOUISIANA
 *****************************************************************************
 TO: THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP
       THROUGH IT AGENT FOR SERVICE OF PROCESS
       C T CORPORATION SYSTEM
       3867 PLAZA TOWER DRIVE
       BATON ROUGE, LA 70816
 **************************************************************************a

        YOU ARE HEREBY CITED TO APPEAR, in the Alexandria City Court, 515
 Washington Street, Alexandria, Louisiana and show cause on MARCH 4, 2020 AT 9:00 A.M.
 why judgment should not be rendered against it for the payment of all earned wages owed and
 unlawful deductions owed to Plaintiff, plus statutory penalties and attorney's fees as provide by
 La. R.S. 23:641, et seq., and legal interest on all amounts, together with all costs of these
 proceedings.

        In obedience to the Order signed by the Honorable Richard E. Starling, Jr. Judge of our
 said Court on December 12, 2019, and pursuant to the files herein; Petition for Wages,
 Discovery Requests and Order.

         Witness the HONORABLE RICHARD E. STARLING, JR., JUDGE of our said
 Court, at Alexandria, Louisiana this Friday the 13th day of December, 2019.




 PLEASE SERVE:

        THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP
        THROUGH IT AGENT FOR SERVICE OF PROCESS
        C T CORPORATION SYSTEM
        3867 PLAZA TOWER DRIVE
        BATON ROUGE, LA 70816
              Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 4 of 22 PageID #: 14



                                                                                                ALEXANDRIA CITY COURT
                                                        CIVIL SUIT NO.:      1 460
                                                                                                2019 DEC -9 PM :3: 00
                        LAVESPERE, JAMES                                    ALEXANDRIA CITY CO

                        VERSUS                                               PARISH OF
                                                                                            Pi '*E413K
                                                                                                   4414OF CO
                        THE TERMINEX INTERNATIONAL                          STATE OF LOUISIANA
                        COMPANY LIMITED PARTNERSHIP

                                                                     ORDER

                               CONSIDERING the above and foregoing Petition for Wages, it is hereby

                               ORDERED that the Defendant, THE TERMINEX INTERNATIONAL COMPAN

                        LIMITED PARTNERSHIP, show cause, if any, on the                day of                  020, why

                        judgment should not be rendered against it for the payment of all earned wages owed and

                        unlawful deductions owed to Plaintiff, plus statutory penalties and attorney's fees as

                        provided by La. R.S. 23:631, et, seq., and legal interest on all amounts, together with all costs

                        of these proceedings.

                               THUS DONE        D SIGNED at Alexandria, Rapides Parish, Louisiana, this      (2-)    d

                        of




                                                                     JUDGE
                                                      Richard E. Starling, Jr., Judge
                        PLEASE SERVE:

                        THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP
                        through its agent for service and process,
                        C T Corporation System
                        3867 Plaza Tower Drive
                         Baton Rouge, Louisiana 70816




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           Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 5 of 22 PageID #: 15



                                                                                             ALEXANDRIA CITY COUR
                                                       CIVIL SUIT NO.:     1456 4             2019 DEC -9 PH 2:59
                       LAVESPERE, JAMES                                   ALEXANDRIA CITY CO

                       VERSUS                                             PARISH OF
                                                                                                 CLERK 0    COURT
                       THE TERMINEX INTERNATIONAL                         STATE OF LOUISIANA
                       COMPANY LIMITED PARTNERSHIP

                                                            PETITION FOR WAGES


                              The Petition for Wages of JAMES LAVESPERE (hereinafter "Plaintiff"), by and

                       through undersigned counsel, domiciliary and resident of the City of Pineville, Parish of

                       Rapides, State of Louisiana, respectfully represents:

                                                                     1.
                           Made Defendant herein is:

                           a) THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP, a foreign
                              insurance company authorized to do and doing business in the State of Louisiana who
                              may be served through its agent for service and process, C T Corporation System,
                              3867 Plaza Tower Drive, Baton Rouge, Louisiana 70816;

                                                                     2.
                              Defendant is indebted unto the Plaintiff in an amountl to be determined by this Court2

                       together with legal interest from date of judicial demand until paid and for all costs of these

                       proceedings for the reasons enumerated below.

                                                                       3.
                              The Plaintiff avers, stipulates and judicially admits the claims, amount in dispute3, and

                       damages at issue in this matter are within the jurisdictional limit of this Court as established

                       by La. Code Civ. Proc. Art. 4843 (H).




                        The Plaintiff avers the amount in dispute/controversy is insufficient to vest
                       a federal court with jurisdiction. The Plaintiff further shows the amount in
                       controversy does not exceed $75,000.00 in accordance with 28 U.S.C. § 1332.

                       2 The Plaintiff avers, stipulates and jud.icially admits the claims, amount in
                       dispute, and damages are less than $50,000.00. Under no theory of liability enc.',
                       cause of action are the Plaintiff's claims and damages more than $50,000.00.
                       Accordingly, the Plaintiff filed the instant Petition for Damages in Alexandria
                       City Court because it is a court of Limited jurisdiction being fixed at not
                       more than $50,000.00. See, La. Code Civ. Proc. Art. 4843 (H); Industrial Roofing
                       $ Sheet Metal Works, Inc. v. J.C. Dellinger, Mem'l Trust, 751 So. 2d 928 at 943
                       (La. App. 2 Cit.) writ denied, 752 So. 2d 166 (La. 1999); Meyers v. Neighborhood
                       Restorations, Inc., 98-3046 (La.App. 4 Cir. 09/1/1999), 743 So. 2d 755; Walker
                       v. Dinh Van Thap, 92-0016, ;La.App. 4 Cit. 05/17/94), 637 So. 2d 1150.

                       3 "Amount in dispute," as stated in La. Code Civ. Proc.Art. 4843(A) means the
                       maximum amount that the successful party may be awarded by judgment; the maximum
                       amount the unsuccessful party may be ordered to pay, in addition, is the amount
                       at risk in the litigation. Walker v. Dinh Van Thap, 92-0016, (La.App. 4 Cit.
                       05/17/94), 637 So. 2d 1150


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                                                                        4.
                              The Plaintiff filed the instant Petition for Wages in Alexandria City Court because it is

                       a Court of limited jurisdiction being fixed at no more than $50,000.00.

                                                                    5.
                              The Plaintiff avers the amount in dispute and in controversy' is insufficient to vest a

                       federal court with jurisdiction.

                                                                       6.
                              The Plaintiff avers, stipulates and judicially admits the claims, amount in dispute', and

                       damages at issue in this matter are less than $50,000.00.

                                                               7.
                              The Plaintiff was hired by the Defendant on May 7, 2018 to perform pest

                       control/extermination services within the State of Louisiana.

                                                                      8.
                              The Plaintiff was hired at a rate of $17.00 per hour.

                                                                      9.
                              The Plaintiff never exited the State of Louisiana and entered into another State of the

                       Union to perform pest control/extermination services.

                                                                  10.
                              The Plaintiff's employment did not participate in any interstate commerce.

                                                                 11.
                              Despite the Plaintiff being a dedicated, loyal and hard-working employee, the

                       Defendant did not pay him for a substantial amount of his work and it did not pay him as

                       promised and agreed to when the Plaintiff was hired.

                                                                     12.
                              Specifically, the Plaintiff shows and avers he is owed wages for the following:

                              a) May 7, 2018 through May 28, 2018, the Plaintiff worked 128 hours and the

                                  Defendant did not compensate the Plaintiff for these hours. At $17.00 per hour,

                                  the Plaintiff is owed $2,176.00.

                               b) June 1, 2018 through June 15, 2018, the Plaintiff worked 70.9116 hours and was

                                  paid $15.00 per hour, which totals $818.19. However, he was hired at $17.00 per




                       'See, footnote number one (1), sup:..
                       5 "Amount in dispute," as stated in La. Code Civ. Proc. Art. 4843(A) means the
                       maximum amount that the. successful party may be awarded by judgment; the maximum
                       amount the unsuccessful party may be ordered to pay, in addition, is the amount
                       at risk in the litigation. Walker v. Dinh Van Thap, 92-0016, (La.App. 4 Cir.
                       05/17/94), 637 So. 2d 1150

    ‘11,
DAVENPORT FIRM, APLC
            Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 7 of 22 PageID #: 17




                             hour, which means the Plaintiff was to be paid $1,205.49. The difference of

                             $1,205.49- $818.19 is $387.30. The Plaintiff is owed $387.30.

                         c) June 16, 2018 through June 30, 2018, the Plaintiff worked 86.67 hours and was

                             paid $15.00 per hour, which comes to $1300.00. However, he was hired at $17.00

                             per hour, which means the Plaintiff was to be paid $1,473.39. The difference of

                             $1,473.39- $1,000.00 is $473.39. The Plaintiff is owed $473.39.

                          d) July 1, 2018 through July 15, 2018, the Plaintiff worked 86.67 hours and was paid

                             $15.00 per hour, which comes to $1,300.00. However, he was hired at $17.00 per

                             hour, which means the Plaintiff was to be paid $1,473.39. The difference of

                             $1,473.39- $1,300.00 is $173.39. The Plaintiff is owed $173.39.

                          e) July 16, 2018 through July 31, 2018, the Plaintiff worked 86.67 hours and was paid

                             $15.00 per hour, which comes to $1,300.06. However, he was hired at $17.00 per

                             hour, which means the Plaintiff was to be paid $1,473.39. The difference of

                             $1,473.39- $1,300.00 is $173.39. The Plaintiff is owed $173.39.

                          f) August 1, 2018 through August 15, 2018, the Plaintiff worked 86.67 hours and

                             was paid $15.00 per hour, which comes to $1,300.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $1473.39. The

                             difference of $1,473.39- -$1,300.00 is $173.39. The Plaintiff is owed $173.39.

                             Additionally, the Plaintiff worked 2 hours of .overtime at $25.50 and is owed

                             $51.00 in overtime wages.

                          g) August 16, 2018 through August 31, 2018, the Plaintiff worked 86.67 hours and

                             was paid $15.00 per hour, which comes to $1300.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $1473.39. The

                             difference of $1,473.39- $1,300.00 is $173.39. The Plaintiff is owed $173.39.

                             Additionally, the Plaintiff worked 18.66 hours of overtime at $25.50 and is owed

                             $475.83 in overtime wages.

                          h) August 26, 2018 through September 1, 2018, the Plaintiff worked 40 hours and

                             was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                              $680.00- $600.00 is $80.00. The Plaintiff is owed $80.00. Additionally, the


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                             Plaintiff worked 10.83 hours of overtime at $25.50 but was only paid for time and

                             a half based on $15.00 per hour, which is $243.68. The difference owed between

                             $276.16- $243.68 is $32.49. The Plaintiff is owed $32.49 in overtime wages.

                          i) September 2, 2018 through September 8, 2018, the Plaintiff worked 47 hours and

                             was paid $15.00 per hour, which comes to $705.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $799.00. The difference

                             of $799- $705 is $94.00. The Plaintiff is owed $94.00.

                          j) September 9, 2018 through September 15, 2018, the Plaintiff worked 40 hours

                             and was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                             $680- $600 is $80.00. the Plaintiff is owed $80.00. James also worked 19.17 hours

                             of overtime at $25.50 is $488.84, he was only paid for time and a half based on

                             $15.00 per hour, which was $325.89. The difference owed between $276.16-

                             $243.68 is $57.51. The Plaintiff is owed $57.51 in overtime wages.

                          k) September 16, 2018 through September 22, 2018, the Plaintiff James worked 40

                             hours and was paid $15.00 per hour, which comes to $600.00. However, he was

                             hired at $17.00 per hour, which means the Plaintiff was to be paid $680. The

                             difference of $680- $600 is $80.00. The Plaintiff is owed $80.00. Also, the Plaintiff

                             worked 10.79 hours of overtime at $25.50 is $488.84, he was only paid for time

                             and a half based on $15.00 per hour, which was $242.78. The difference owed

                             between $275.15- $242.78 is $32.37. The Plaintiff is owed $32.37 in overtime

                             wages.

                          1) September 23, 2018 through September 29, 2018, the Plaintiff worked 40 hours

                             and was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                             $680- $600 is $80.00. The Plaintiff is owed $80.00. Also, the Plaintiff worked

                             11.79 hours of overtime at $25.50 is $300.65, he was only paid for time and a half

                             based on $15.00 per hour, which was $265.28. The difference owed between

                             $300.65- $265.28 is $3537. The Plaintiff is owed $35.37 in overtime wages.

                          m) October 7, 2018 through October 13, 2018, the Plaintiff worked 40 hours and was


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                            paid $15.00 per hour, which comes to $600.00. However, he was hired at $17.00

                            per hour, which means the Plaintiff was to be paid $680. The difference of $680-

                            $600 is $80.00. The Plaintiff is owed $80.00. Additionally, the Plaintiff worked

                            11.45 hours of overtime at $25.50 is $291.97, he was only paid for time and a half

                            based on $15.00 per hour, which was $257.63. The difference owed between

                            $291.97- $257.63 is $34.34.The Plaintiff is owed $34.34 in overtime wages.

                         n) October 14, 2018 through October 20, 2018, the Plaintiff worked 40 hours and

                            was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                            $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                            $680- $600 is $80.00. The Plaintiff is owed $80.00. The Plaintiff also worked 6.58

                            hours of overtime at $25.50 is $167.79, he was only paid for time and a half based

                            on $15.00 per hour, which was $148.05. The difference owed between $291.97-

                            $148.05 is $19.74.. The Plaintiff is owed $19.74 in overtime wages.

                         o) October 21, 2018 through October 27, 2018, the Plaintiff worked 40 hours and

                            was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                            $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                            $680- $600 is $80.00. The Plaintiff is owed $80.00. The Plaintiff also worked 10.17

                            hours of overtime at $25.50 is $259.33, he was only paid for time and a half based

                            on $15.00 per hour, which was $228.83. The difference owed between $259.33-

                            $228.83 is $30.50. The Plaintiff is owed $30.50 in overtime wages.

                         p) October 28, 2018 through November 3, 2018, the Plaintiff worked 40 hours and

                            was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                            $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                            $680- $600 is $80.00. The Plaintiff is owed $80.00. The Plaintiff also worked 8.34

                            hours of overtime at $25.50 is $212.67, he was only paid for time and a half based

                            on $15.00 per hour, which was $187.65. The difference owed between $212.67-

                            $187.65 is $25.02. The Plaintiff is owed $25.02 in overtime wages.

                         q) November 11, 2018 through November 17, 2018, the Plaintiff worked 40 hours

                            and was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                            $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of


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                            $680- $600 is $80.00. The Plaintiff is owed $80.00. Additionally, the Plaintiff

                            worked .94 hours of overtime at $25.50 Is $23.97, he was only paid for time and a

                            half based on $15.00 per hour, which was $21.15. The difference owed between

                            $23.97- $21.15 is $2.82. The Plaintiff is owed $2.82 in overtime wages. The

                            Plaintiff was paid $15.00 per hour for 8 hours of vacation time, which is $120.00.

                            The Plaintiff was supposed to be paid $17.00 per hour for 8 hours of vacation time

                            which is $136.00. The difference in $136.00- $120.00 is $16.00, The Plaintiff is

                            owed $16.00.

                         r) November 18, 2018 through November 24, 2018, the Plaintiff worked 45.55 hours

                            and was paid $15.00 per hour, which comes to $683.25. However, he was hired at

                            $17.00 per hour, which means the Plaintiff was to be paid $774.52. The difference

                            of $774.52- $683.25 is $91.27. The Plaintiff is owed $91.27.

                         s) November 25, 2018 through December 1, 2018, the Plaintiff worked 40 hours and

                            was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                            $17.00 Per hour, which means the Plaintiff was to be paid $680. The difference of

                            $680- $600 is $80.00. The Plaintiff is owed $80.00. The Plaintiff also worked 7.72

                             hours of overtime at $25.50 is $196.86, he was only paid for time and a half based

                             on $15.00 per hour, which was $173.70. The difference owed between $196.86-

                             $173.70 is $23.16. The Plaintiff is owed $23.16 in overtime wages.

                         t) December 2, 2018 through December 8, 2018, the Plaintiff worked 40 hours and

                             was paid $15.00 per hour, which comes to $600.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $680. The difference of

                             $680- $600 is $80.00. The Plaintiff is owed $80.00. Additionally, the Plaintiff

                             worked 1.59 hours of overtime at $25.50 is $40.54, he was only paid for time and

                             a half based on $15.00 per hour, which was $35.78. The difference owed between

                             $40.54- $35.78 is $4.76. The Plaintiff is owed $4.76 in overtime wages.

                          u) December 9, 2018 through December 15, 2018, the Plaintiff worked 40 hours and

                             was paid $15.00 per hour. which comes to $600.00. However, he was hired at

                             $17.00 per hour, which means the Plaintiff was to be paid $680.The difference of

                             $680- $600 is $80.00. The Plaintiff is owed $80.00. Also, the Plaintiff worked 516

    tibia
DAVENPORT FIRM, APLC
          Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 11 of 22 PageID #: 21




                           hours of overtime at $25.50.is $146.88, he Was only paid for time and a half based

                           on $15.00 per hour, which was $129.60. The difference owed between $146.88-

                           $129.60 is $17.28. The Plaintiff is owed $17.28 in overtime wages.

                        v) December 16, 2018 through December 22, 2018, the Plaintiff worked 45.3 hours

                           and was paid $15.00 per hour, which comes to $679.50 However, he was hired at

                           $17.00 per hour, which means the Plaintiff was to be paid $770.10. The difference

                           of $770.10- $679.50 is $90.60. The Plaintiff is owed $90.60.

                        w) December 23,2018 through December 29, 2018, the Plaintiff worked 38.68 hours

                           and was paid $15.00 per hour, which comes to $580.20. However, he was hired at

                           $17.00 per hour, which means the Plaintiff was to be paid $657.56. The difference

                           of $657.56- $580.20 is $77.36. The Plaintiff is owed $77.36.

                        x) December 30, 2018 through January 5, 2019, the Plaintiff worked 44.71 hours and

                           was paid $15.00 per hour, which comes to $670.65. However, he was hired at

                           $17.00 per hour, which means Plaintiff was to be paid $760.01. The difference of

                           $760.01- $670.65 is $89.42. The Plaintiff is owed $89.42.

                        y) January 6, 2019 through January 12, 2019, the Plaintiff worked 40 hours and was

                           paid $15.00 per hour, which comes to $600.00. However, he was hired at $17.00

                           per hour, which means the Plaintiff was to be paid $680.The difference of $680-

                           $600 is $80.00. The Plaintiff is owed $80.00. Also, the Plaintiff worked 7 hours of

                           overtime at $25.50 is $178.50, he was only paid for time and a half based on

                           $15.00 per hour, which was $157.50. The difference owed between $178.50-

                           $157.50 is $21.00. The Plaintiff is owed $21.00 in overtime wages.

                        z) January 13, 2019 through January 19, 2019, the Plaintiff worked 40 hours and was

                           paid $15.00 per hour, which comes to $600.00. However, he was hired at $17.00

                           per hour, which means the Plaintiff was to be paid $680.The difference of $680-

                           $600 is $80.00. The Plaintiff is owed $80.00. Also, the Plaintiff worked 7.63 hours

                           of overtime at $25.50 is $194.56, he was only. paid for time and a half based on

                           $15.00 per hour, which was $171.68. The difference owed between $194.56-

                            $171.68 is $22.88. The Plaintiff is owed $22.88 in overtime wages.

                        aa) January 20, 2019 through January 26, 2019, the Plaintiff worked 45.74 hours and


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           Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 12 of 22 PageID #: 22




                                   was paid $15.00 per hour, which comes to $686.10. However, he was hired at

                                   $17.00 per hour, which means the Plaintiff was to be paid $777.58. The difference

                                   of $777.58- $686.10 is $91.48. The Plaintiff is owed $91.48.

                                                                  13
                              In addition to the foregoing, the Defendant unlawfully assessed and deducted a

                       "uniform cleaning fee" in the amount of $10.50 over 25 separate pay periods„ viz., July 1,

                       2018- July 15, 2018, July 16, 2018- July 31, 2018, August 1, 2018- August 15, 2018, August

                       16, 2018- August 31, 2018, August 26, 2018- September 1, 2018, September 2, 2018-

                       September 8, 2018, September 9, 2018- September 15, 2018, September 16, 2018-

                       September 22, 2018, September 23, 2018- September 29, 2018, September 30, 2018-

                       October 6, 2018, October 7, 2018- October 13, 2018, October 14, 2018- October 20, 2018,

                       October 21, 2018- October 27, 2018, October 28, 2018- November 3, 2018, November 4,

                       2018- November 10, 2018, November 11, 2018- November 17, 2018, November 18, 2018-

                       November 24, 2018, November 25, 2018- December 1, 2018, December 2, 2018- December

                       8, 2018, December 9, 2018- December 15, 2018, December 16, 2018- December 22, 2018,

                       December 23, 2018- December 29, 2018, December 30, 2018- January 5, 2019, January 6,

                       2019- January 12, 2019, January 13, 2019- January 19, 2019, and January 20, 2019- January

                       26, 2019.

                                                                  14.
                              The Plaintiff avers he never consented and/or agreed to a deduction of a "uniform

                       cleaning fee" from his payroll and all such deductions are in direct violation of La. R.S.

                       23:635.

                                                                15. -
                              The Plaintiff shows on November 14, 2019 the undersigned sent a demand letter to

                       the Defendant(s) and it is attached hereto and made part hereof as Exhibit "A," which is

                       quoted in extenso.

                                                                        16.
                              As of the filing of this Petition, Plaintiff's demand has been ignored by the Defendant

                       and the Plaintiff has not received the above described and demanded amounts due.

                                                                  17.
                              As a direct and proximate result of Defendant's failure to pay the above described

                       wages within the time litnits set forth in La. R.S. 23:632. Plaintiff is entitled to the entirety of



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           Case 1:20-cv-00056-RRS-JPM Document 1-2 Filed 01/14/20 Page 13 of 22 PageID #: 23




                       the above described wages due under the terms of employment, plus, either ninety (90) days

                       of wages at Plaintiffs demand for payment until Defendant actually pays or tenders the

                       above described amounts due, whichever is the lesser amount, including statutory penalties

                       and attorney's fees, in accordance with the provisions of La R.S. 23:632.

                                                                    18.
                              Pursuant to the provision of La R.S. 23:631et seq., Plaintiff requests the Defendant be

                       ordered to appear on a date and time set by this Court and show cause, if any, why judgment

                       should not be rendered against it for payment of all earned wages owed, unlawful payroll

                       deductions, and attorney fees as provided by law and legal interest on all amounts, together

                       with all costs of these proceedings.

                                                                   19.
                              To the extent any of the foregoing claims appear to be in conflict of each other, the

                       Plaintiff pleads them in the alternative.

                              WHEREFORE THE PLAINTIFF PRAYS:

                                     1. An Order issue herein directing THE TERMINEX INTERNATIONAL
                                        COMPANY LIMITED PARTNERSHIP to show cause, if any, why judgment
                                        should not be rendered against it for payment of all earned wages owed
                                        attorney fees as provided by law and legal interest on all amounts, together
                                        with all costs of these proceedings;

                                     2. The Defendant, THE TERMINEX INTERNATIONAL COMPANY LIMITED
                                        PARTNERSHIP, be served with a copy of this Petition and Order and be
                                        duly cited to appear and answer same;

                                         After due proceeding are had, there be judgment herein in favor of Plaintiff,
                                         JAMES LAVESPERE, and against Defendant, THE TERMINEX
                                         INTERNATIONAL COMPANY LIMITED PARTNERSHIP, for payment of all
                                         earned wages owed to and unlawful payroll deductions from Plaintiff at
                                         the time of his employment resignation, plus statutory penalties and
                                         attorney fees as provided by La. R.S. 23:631, et seq., and legal interest on
                                         all amounts, together with all costs of these proceedings;

                                     4. For all necessary orders and decrees and for full, general and equitable
                                         relief.

                                                          Respectfully submitted:

                                                         THE       PIuw PLC


                                                          OMA i DA NP T, JR.
                                                            Bar Roll No. 2 26                           ct:t

                                                             602 Murray Street                         CZ$
                                                                                                        rri
                                                        Alexandria, Louisiana 71301
                                                        Telephone: (318) 445 - 9696                     1/40
                                                        Facsimile: (318) 445 - 3031



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                       PLEASE SERVE:

                       THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP
                       through its agent for service and process,
                       C T Corporation System
                       3867 Plaza Tower Drive
                        Baton Rouge, Louisiana 70816




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                                                     CIVIL SUIT NO.:   (46Q04             ALEXANDRIA CITY COUR

                                                                                               DEC :9   PM 3: Ci0
                       LAVESPERE, JAMES                                 ALEXANDRIA CITy'COURT

                       VERSUS                                           PARISH OF RAP DES
                                                                                                LERK OF     JRT    •
                       THE TERMINEX INTERNATIONAL                       STATE OF LOUISIANA                /el     ,/
                       COMPANY LIMITED PARTNERSHIP                                                        1 /
                                                                                                                f41
                                             REOUEST FOR NOTICE OF TRIAL DATE—ETC.

                             TO THE CLERK OF COURT of the City of Alexandria, Parish of Rapides, State of

                       Louisiana:

                              PLEASE TAKE NOTICE that THOMAS D. DAVENPORT, JR. attorney for the Plaintiff,

                       JAMES LAVESPERE, does hereby request written notice of the date of trial of the above

                       matter as well as notice of hearings (whether on the merits or otherwise), orders, judgments

                       and interlocutory decrees, and any and all formal steps taken by the parties herein, by the

                       Judge or by any member of Court, as provided in Louisiana Code of Civil Procedure,

                       particularly Articles 1572, 1913 and 1914.


                                                         Respectfully submitted:

                                                       THE DAV IRT       L   APLC




                                                       THOMAS D. DAVENPO T, JR.
                                                            Bar Roll No 426
                                                            602 Murra Street
                                                       Alexandria, Louisiana 71301
                                                       Telephone: (318) 445 - 9696
                                                       Facsimile: (318) 445 - 3031
                                                    tdavenportjr@davenportfirm.com




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                                                                                             ALEXANDRIA CITY COURT
                                                        CIVIL SUIT NO.:                         ,
                                                                                              2019 DEC -9 PM 90
                        LAVESPERE, JAMES                                   ALEXANDRIA CITY COU
                                                                                                       IIP
                                                                                                        '
                        VERSUS                                              PARISH OF RAP'
                                                                                                     ERK OF CO
                        THE TERMINEX INTERNATIONAL                         STATE OF LOUISIANA
                        COMPANY LIMITED PARTNERSHIP

                                           REQUEST FOR PRODUCTION OF DOCUMENTS
                                                 PROPOUNDED TO DEFENDANT,
                                THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP

                                COMES NOW, the Plaintiff, who pursuant to the Louisiana Code of Civil Procedure,

                        respectfully requests the Defendant, THE TERMINEX INTERNATIONAL COMPANY

                        LIMITED PARTNERSHIP, produce the following items at The Davenport Firm, 602 Murray

                        Street, Alexandria, Louisiana 71301, within the delays allowed by law:

                        REQUEST FOR PRODUCTION NUMBER 1:

                                Please provide copies of the all the Plaintiff's checks stubs from May2018 to February

                        2019.

                        REQUEST FOR PRODUCTION NUMBER 2:

                                Please produce any and all documents, materials or papers that you intend to rely

                        upon at trial to support your defense to this action.

                        REQUEST FOR PRODUCTION NUMBER 3:

                                Please produce a copy of any reports, memoranda, notes, drafts, recordings

                        statements and tangible items to the like, which relate to the subject matter of this litigation

                        REQUEST FOR PRODUCTION NUMBER 4:

                                Any and all expert reports which have been obtained from any expert and, if a report

                        has not been prepared, the preparation of such a report is hereby requested.

                        REQUEST FOR PRODUCTION NUMBER 5:

                                Copies of any and all statements previously made by you and/or (excluding

                        statements subject to the attorney-client privilege), or any witness, including all parties to

                        this actions, concerning the subject matter of this lawsuit, including any written statement

                        signed or otherwise adopted or approved by you and/or the Plaintiff, and any stenographic

                        mechanical, electrical, or other type recording or any transcript thereof, made by you and/or

                        the Plaintiff and contemporaneously recorded. If you claim any such document is privileged,



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                       please give a general description of said document and state the claimed privilege.

                              document and state the claimed privilege.

                       REQUEST FOR PRODUCTION NUMBER 6:

                              Copies of any recorded conversations, telephonic or otherwise, that purports to or

                       may contain the voice of any witness and/or the Plaintiff.

                       REQUEST FOR PRODUCTION NUMBER 7:

                              Copies or duplicates of any or all letters, cards, telegrams, memos or correspondences

                       you received from the Plaintiff and/or any witness.

                       REOUEST FOR PRODUCTION NUMBER 8:

                              Names and addresses of any potential parties or witnesses that can be obtained from

                       any communication or other papers in the possession, custody, or control of you.

                       REQUEST FOR PRODUCTION NUMBER 9:

                              Copies or duplicates of any or all letters, cards, telegrams, memos and all other

                       documents or things relating to the Plaintiff's claims or to the facts surrounding the

                       allegations contained in the Petition for Wages or any other facts related in any way to this

                       lawsuit.

                       REQUEST FOR PRODUCTION NUMBER 10:

                              Please produce any and all documents, materials or papers that support your

                       contentions and denials contained in your Answer.

                       REQUEST FOR PRODUCTION NUMBER 11:

                              Please produce any and all documents, materials or papers that support your

                       defenses contained in your Answer.

                       REQUEST FOR PRODUCTION NUMBER 12:

                               Please produce any and all documents, materials or papers that you sent and/or

                       mailed to the Plaintiff.

                       REQUEST FOR PRODUCTION NUMBER 13:

                               Please produce a copy of all invoices concerning the cost of surveillance movies or

                       photographs that have been made of the Plaintiff.

                       REQUEST FOR PRODUCTION NUMBER 14:

                                  Please produce a copy of all reports, and invoices concerning any and all


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                       investigations of the Plaintiff.

                       REQUEST FOR PRODUCTION NUMBER 15:

                               Please produce a copy of all evidence that shows or tends to show that the Plaintiff is

                       not credible or that places his credibility or truthfulness into question.

                       REQUEST FOR PRODUCTION NUMBER 16:

                               Please produce a copy of all evidence that shows or tends to show the amount o

                       losses that the Plaintiff is entitled to in this case.

                       REQUEST FOR PRODUCTION NUMBER 17:

                               Any and all communications, letters, memos, notes, letters, documents or electroni

                       mails that reference or mention the Plaintiff in any way.



                                                             Respectfully submitted:

                                                           THE DAVENPORT FIRM,APLC




                                                          THOMAS D. DAVENP ,
                                                               Bar Roll No. 2 , Yr
                                                                                 6
                                                               602 Murray Street
                                                          Alexandria, Louisiana 71301
                                                          Telephone: (318) 445 - 9696
                                                          Facsimile: (318) 445 - 3031
                                                       tdavenportjr@davenportfirm.com6




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                       6 Theinclusion of this email address is not an express designation and agreement
                       to accept pleadings, motions, discovery, evidence or material via email.


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                                                                                       ALEXANDRIA CITY COURT

                                                                                        2019 DEC -9 p$3: 00
                                                       CIVIL SUIT NO.: I 45(Q
                                                                                               ft            •
                        LAVESPERE, JAMES                                  ALEXANDRIA                     /
                                                                                             :Pt OF COURT 11, 1
                                                                                                         p1
                        VERSUS                                             PARISH OF IRAPIDEE
                                                                                                                    '4
                        THE TERMINEX INTERNATIONAL                        STATE OF LOUISIANA
                        COMPANY LIMITED PARTNERSHIP

                                                    INTERROGATORIES
                                                PROPOUNDED TO DEFENDANT,
                                 THE TERMINEX INTERNATIONAL COMPANY LIMITED PARTNERSHIP

                              You are hereby notified that the Plaintiff in the above-captioned matter, pursuant to

                        Code of Civil Procedure Articles 1457 and 1458, propounds the following interrogatories

                        upon the Defendant. The Defendant should answer the following interrogatories separately,

                        fully and under oath within the time allotted by law. These interrogatories should be

                        supplemented or amended as required by La. Code Civ. Proc. Art.1428.

                        Instructions
                               You are directed to furnish all information available to you, including information in

                        the possession of your attorney or investigators and any other persons acting in your behalf,

                        as well as with, and of, your personal knowledge. If you cannot answer any specific

                        Interrogatory in full after exercising due diligence to secure the information, please state so

                        in your answers to the extent possible, specifying your inability to answer the remainder o

                        each such question and stating whatever information or knowledge you have concerning

                        that portion of the answer and the efforts you have undertaken to secure the remainder o

                        the information sought. The Interrogatories which follow are to be considered as continuing

                        and you are requested to provide by way of supplementary answers thereto such additional

                        information as you, or any other person acting in your behalf, may hereafter obtain which

                        will augment or otherwise modify the answers you give to the Interrogatories below. Such

                        supplementary responses are to be filed and served in the same manner as your answers to

                        these Interrogatories. Your answers are to be under oath, and subject to all penalties which

                        may be lawfully enforced for committing the crime of perjury.

                         1.    Please state the full name, address, and occupation for the business listed in the suit.

                         2.    State the correct name and address of any potential party, including yourself, to this

                        lawsuit, not already named a party hereto.



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                        3.    State the full name, address and qualifications of each expert whom you may or will

                       call as an expert witness at.the trial of this case, the subject matter on which the expert is

                       expected to testify, the substance of the facts and opinions to which the expert is expected to

                       testify, and a summary of the grounds for each opinion expected to be expressed by such

                       expert, and attach a copy of any report, including factual observations and opinions, which

                       has been prepared by any such expert.

                       4.     State whether or not you were acting within the course and scope of any agency,

                       employment, or service at any or all times relative to the complaints and/or averments o

                       fact as contained in the Petition for Wages and describe the type of relationship of the persons

                       involved.

                        5.    Please state the actual time and date the Plaintiff made a request for final payment

                        for your company.

                        6.    With regards to Interrogatory Number 5, please state what your response was to tha

                        request and the reason for such response.

                        7.    Please state why have refused to provide wages that are due to the Plaintiff.

                        8.    Please explain what information was not supplied thereby permitting you to claim in

                              good faith that the Plaintiff did not supply you with a proper or valid demand letter.

                        9.    Please state whether or not you have a copy of any statement, which the Plaintiff has

                              previously made concerning the action or its subject matter and which is in you

                               possession, custody or control. For the purpose of this question, a statemen

                               previously made is (1) a written statement signed or otherwise adopted or approved

                               by the person making it, or (2) a stenographic, mechanical, electrical, or othe

                               recording, or a transcription thereof, which is a substantially verbatim recital of an

                               oral statement by the person making it and contemporaneously recorded.

                       10.     Describe in detail any conversations you have had with the Plaintiff or Plaintiffs

                               representative following the claims in question.

                       11.     Describe with particularity and specificity any and all exhibits you intend to introduce

                               and/or use at trial.

                       12.     Please specify and identify each affirmative defense/claim you intend to present at

                               trial, the factual basis for such, and with regard to each element of the defense/claim

    41.
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                             set forth herein, state:

                                   A. Names, addresses and telephone numbers of each witness you will call in
                                      support thereof;

                                   B. Identify and specify with particularity each exhibit you intend to introduce in
                                      support thereof.

                       13.   Have you or anyone acting on the defendants' behalf obtained from any witness o

                             person any reports, statements, recordings, memorandum, testimony or writing o

                             act sort, whether signed or not and whether prepared by someone other than the said

                              person or witness or not, concerning the acts alleged in the complaint of any othe

                              facts related to this lawsuit. If so, as to each such person, state:

                              a)      Identity of the witness or person referred to in the document;

                              b)      Date of taking or making the document;

                              c)       Identity of the person presently in possession;

                              d)       Identity of the person making or taking the document;

                              e)       Identity of the person who requested the making or taking of the documents;

                       14.    Have you or any of your employees made any report, statement, memoranda,

                       recording or given any testimony, in writing, whether prepared by you or someone else,

                       concerning the allegations contained in the Petition for Wages or any facts pertaining to this

                       lawsuit? If so, as to each document states:

                              a)       Date;

                              b)       Identity of the person in possession;

                              c)       Identity of the person taking or making the documents;

                              d)       Identity of the person at whose request the document was made or taken:

                       15.    Do you know of any documents or other tangible things containing evidence relatin

                              to the allegations of the Petition for Wages of this lawsuit not previously listed in the

                              answers herein? If so, as to each such item, state:

                              a)       Nature and specific subject matter;

                              b)       Date created;

                              c)       Identity of the maker/creator;

                              d)       Identity of the person who is presently in possession;

                              e)       Identity of the person at whose request such item was made or taken;

    41,
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                        16.    Furnish the names, addresses, telephone numbers, occupations, and presen

                        locations of all persons having knowledge of relevant facts pertaining to this lawsuit and

                        briefly describe the nature of each person's relevant knowledge.

                        17.    With respect to each and every witness not identified in the foregoing interrogatories

                        whom you may intend to call at trial, if any, state:

                               a) The name, address, telephone number, occupation, and employer;

                               b) The subject matter on which the witness is expected to testify;

                               c) The substance of the facts concerning which the witness is expected to testify;

                               d) A summary of the factual basis for the witness's testimony;

                        18.    In the event that you assert any affirmative defenses, state the factual basis for eac

                        and every such defense.



                                                            Respectfully submitted:

                                                          THE DAVENPORT F m, APLC

                                            C_

                                                          Thomas D. Dave ort, Jr.
                                                              BarRoliNs. 7426
                                                              602 Murray Street
                                                         Alexandria, Louisiana 71301
                                                         Telephone: (318) 445 - 9696
                                                         Facsimile: (318) 445 - 3031
                                                      tdavenportjr@davenportfirm.com




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